           Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 1 of 19



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,

       v.
                                                         Criminal Action No. ELH-19-115
   ERIC FOSS,
      Defendant.



                                 MEMORANDUM OPINION

       Defendant Eric Foss is serving a sentence of forty-two months of imprisonment for

conspiracy to distribute cocaine.    Through counsel, he has filed an emergency motion for

compassionate release, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (ECF 187), supported by a

memorandum (ECF 187-1) (collectively, the “Motion”) and several exhibits. 1 ECF 187-2 to ECF

187-5. Foss asks the Court to reduce his sentence to time served. The government opposes the

Motion. ECF 190. Defendant has replied. ECF 192. Defendant has also submitted supplemental

correspondence. ECF 202.

       No hearing is necessary to resolve the Motion. For the reasons that follow, I shall deny the

Motion.

                                         I. Background

       Foss was indicted on March 12, 2019, along with six others. ECF 1. He was charged in

Count One with conspiracy to distribute and possess with intent to distribute cocaine, in violation

of 21 U.S.C. §§ 841(b)(1)(C), 846. Id. at 1, 3.



       1
          Foss previously submitted correspondence to the Court, construed as a motion for
compassionate release. ECF 145. By Order of August 14, 2020 (ECF 149), I denied that motion,
without prejudice, noting that Foss had not indicated whether he exhausted his administrative
remedies.
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 2 of 19



       On September 27, 2019, Foss entered a plea of guilty to Count One (ECF 75), pursuant to

a Plea Agreement. ECF 77. The plea was tendered under Fed. R. Crim. P. 11(c)(1)(C), by which

the parties agreed to a sentence ranging between 37 and 46 months’ imprisonment. Id. ¶ 9.

       The Plea Agreement included a stipulation of facts. Id. at 9. It reflects that during October

and November of 2018, Foss was supplied with “distribution quantities of cocaine” by

“Coconspirator-1.” Id. Investigators intercepted defendants’ communications, which revealed

that he “would frequently request what the investigators determined to be 2 to 3 ounces of cocaine

from Coconspirator-1, and that the two would meet near Foss’[s] residence . . . in Baltimore City[,]

Maryland or at businesses in the area shortly after these communications.” Id. In particular, the

stipulation describes intercepted communications between Foss and Coconspirator-1 on October

11, 2018, which were exchanged shortly before the two men met near Foss’s residence. See id.

Investigators determined “that the language used by Foss and Coconspirator-1 was consistent with

a purchase of 3 ounces of cocaine.” Id.

       During October and November of 2018, “several similar exchanges were intercepted

. . . .” Id. Investigators determined that several of the intercepted exchanges referred “to ounces

of cocaine” and “arrangements for Foss and Coconspirator-1 to meet.”             Id.   In addition,

investigators “identified several patterns” in the exchanges, “including that Conspirator-1 would

often report that he was coming from ‘the stadium’ when he was on the way to deliver narcotics

to Foss.” Id. Law enforcement deduced that Coconspirator-1 would obtain cocaine to supply to

Foss from “an address near Camden Yards stadium,” which served as the “residence of other

coconspirators.” Id. And, on November 9, 2018, investigators observed another meeting between

Foss and Coconspirator-1, after intercepting communications believed by investigators to contain

a request by Foss for two ounces of cocaine. See id. at 9-10.



                                                 2
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 3 of 19



       On November 15, 2018, law enforcement executed search warrants at various locations

linked to the conspiracy. Id. at 10. Several kilograms of suspected cocaine were found at one

“stash location” used by Coconspirator-1, and additional quantities of cocaine, heroin, and other

narcotics were recovered from an address near Camden Yards. Id. In addition, a total of $4,560.00

in cash was seized from Foss’s residence and from his person. Id.

       Foss stipulated that it was reasonably foreseeable to him that the conspiracy involved more

than 400 grams but less than 500 grams of cocaine. Id. Further, he agreed that the cocaine was

intended for distribution. Id.

       Pursuant to Fed. R. Crim. P. 32, and at defendant’s request, which was unopposed, the

Court proceeded directly to sentencing. ECF 187-1 at 2; ECF 190 at 1; see also ECF 76; ECF 80.

At the time of sentencing, defendant was forty-three years of age. See ECF 187-3 at 3 (displaying

defendant’s date of birth).

       The Sentencing Memorandum submitted by defense counsel (ECF 115) reflects that

defendant’s childhood was marked by challenge. To his credit, defendant obtained his real estate

license in 2016. See ECF 115 at 4 n.2.

       Defense counsel also provided the court with a copy of the Pre-Plea Criminal History

Report (“Pre-Plea Report”), dated May 9, 2019. It shows that Foss was twice convicted in 1999

of conspiracy to possess with intent to distribute cocaine. Ple-Plea Report, ¶ 6, 7. He was

sentenced to concurrent terms of ten years’ imprisonment, of which four years were suspended,

and he was released in January 2003. See id.

       In 2004, defendant pleaded guilty in federal court to conspiracy to distribute cocaine (Legg,

J.). Id. ¶ 8. He was sentenced to 145 months’ imprisonment, followed by four years of supervised




                                                3
         Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 4 of 19



release. Id. Foss was released from prison in June 2014, after serving over nine years for that

federal sentence. Id. Foss successfully completed supervised release in 2018. Id. ¶ 8.

        The Court determined that defendant had a final offense level of 19 and a Criminal History

Category of III. ECF 81. Foss’s advisory sentencing Guidelines called for a sentence ranging

from 37 to 46 months of incarceration. Id. That corresponded to the sentencing range to which

the parties had agreed, pursuant to the Plea Agreement. ECF 77, ¶ 9.

        The Court imposed a sentence of 42 months’ imprisonment, with credit for time served

since November 15, 2018. ECF 80 at 2. And, the Court imposed a three-year term of supervised

release. Id. at 3.

        Foss is currently serving his sentence at FCI Allenwood Medium. ECF 187-1 at 2; ECF

190 at 1; see also Find an inmate, FEDERAL BUREAU OF PRISONS, https://www.bop.gov/inmateloc/

(last visited Mar. 22, 2021). He has a projected release date of December 31, 2021. ECF 187-1 at

2; ECF 190 at 2; Find an inmate. Defendant has served approximately 67% of his sentence, and

nearly 75% of his sentence when accounting for good-time credit.

        Notably, Foss incurred multiple disciplinary infractions while serving both of his federal

sentences. During his first federal sentence, defendant was twice sanctioned for committing an

assault. ECF 190-1 at 2-3. Defendant’s BOP disciplinary records indicate that defendant was

intoxicated when he committed one of the assaults. Id. In addition, he incurred infractions for

threatening bodily harm, destroying property, refusing to take an alcohol test, and being insolent

to a staff member, among other things. Id. at 2-4.

        More significantly, in the course of his current sentence, defendant has been sanctioned

several times.       In particular, he has been sanctioned for punching another inmate, using drugs

(buprenorphine), refusing to obey an order, and being insolent to a staff member. Id. at 1-2.



                                                   4
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 5 of 19



       Foss states that he is “sincerely remorseful for his prior criminal activities and has done his

very best to use his time while in BOP custody to inculcate within himself new ideas, attitudes,

and beliefs that will allow him to successfully negotiate the harsh vicissitudes of life outside the

walls of a prison without resorting to criminal conduct.” ECF 187-1 at 13. In addition, defendant

has submitted correspondence from his partner of more than three years. ECF 187-5. She states

that upon defendant’s release, he will live with her and her two children. Id. Defendant also has

“employment waiting for him” as a salesperson at a construction company. Moreover, defendant’s

partner has stable employment and will “be able to provide financial support” as defendant

transitions “back into society.” Id.

       In a supplemental submission, dated January 14, 2021, Foss informed the Court that he

recently tested positive for COVID-19. ECF 202.

       Foss submitted a request for compassionate release to the Warden on July 30, 2020. ECF

192-1. The request was promptly denied. Id.

                                       II. Standard of Review

       Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only upon



                                                 5
         Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 6 of 19



a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030 (1984).

Thus, a defendant seeking compassionate release had to rely on the BOP Director for relief. See,

e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018); Jarvis v.

Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008) (denying

compassionate release motion because § 3582 “vests absolute discretion” in the BOP).

       However, for many years the safety valve of § 3582 languished. The BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S. Sentencing

Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice)

(observing that, on average, only 24 inmates were granted compassionate release per year between

1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release mechanism

when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat. 5239 (2018);

see United States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020). As amended by the FSA, 18 U.S.C.

§ 3582(c)(1)(A) permits a court to reduce a defendant’s term of imprisonment “upon motion of

the Director of [BOP], or upon motion of the defendant after the defendant has fully exhausted all

administrative rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf

or the lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility,”

whichever occurs first. So, once a defendant has exhausted his administrative remedies, he may

petition a court directly for compassionate release. McCoy, 981 F.3d at 276.

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that



                                                  6
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 7 of 19



       (i) extraordinary and compelling reasons warrant such a reduction;
       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been made
       by the Director of the Bureau of Prisons that the defendant is not a danger to the
       safety of any other person or the community, as provided under section 3142(g);
       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with applicable policy statements issued by the

Sentencing Commission.

       Notably, “Section 3582(c)(1)(A)(i) does not attempt to define the ‘extraordinary and

compelling reasons’ that might merit compassionate release.” McCoy, 981 F.3d at 276. But, in

U.S.S.G. § 1B1.13, titled “Reduction in Term of Imprisonment under 18 U.S.C. § 3582(c)(1)(A)

Policy Statement,” the Sentencing Commission addressed the “extraordinary and compelling

reasons” that might warrant compassionate release. See McCoy, 981 F.3d at 276. The Sentencing

Commission acted pursuant to 28 U.S.C. § 994(t), as well as § 994(a)(2)(C). McCoy, 981 F.3d at

276. However, as the McCoy Court observed, the policy statement was issued in 2006 and was last

updated in November 2018, prior to the enactment of the First Step Act in December 2018. Id.

       In particular, U.S.S.G. § 1B1.13 provides that, on motion by the Director of the BOP, the

court may reduce a sentence where warranted by extraordinary or compelling reasons (§

1B1.13(1)(A)); the defendant is at least 70 years old and has served at least 30 years in prison (§

1B1.13(1)(B)); the defendant is not a danger to the safety of any other person or to the community

(§ 1B1.13(2)); and the reduction is consistent with the policy statement. U.S.S.G. § 1B1.13(3).

       The Application Notes to U.S.S.G. § 1B1.13 indicate that compassionate release may be

                                                 7
         Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 8 of 19



based on circumstances involving illness, declining health, age, exceptional family circumstances,

as well as “other reasons.” U.S.S.G. § 1B1.13 App. Notes 1(A)-(D). Application Note 1 to

U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons” in part as follows:

         1. Extraordinary and Compelling Reasons.—Provided the defendant meets
         the requirements of subdivision (2), extraordinary and compelling reasons exist
         under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

             (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

                 (I) suffering from a serious physical or medical condition,

                 (II) suffering from a serious functional or cognitive impairment, or

                 (III) experiencing deteriorating physical or mental health because of
                 the aging process,

            that substantially diminishes the ability of the defendant to provide self-care
            within the environment of a correctional facility and from which he or she is
            not expected to recover.

       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has served

at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns Family

Circumstances. Application Note 1(D), titled “Other Reasons,” permits the court to reduce

a sentence where, “[a]s determined by the Director of the Bureau of Prisons, there exists in the

defendant’s case an extraordinary and compelling reason other than, or in combination with, the

reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 App. Note 1(D). This is

the “so-called, ‘catch-all’ category.” McCoy, 981 F.3d at 276.

                                                  8
         Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 9 of 19



       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and 4205.

However, the Court may not rely on the Program Statement. Rather, the Court must consider the

Sentencing Commission’s policy statements. United States v. Taylor, 820 F. App’x 229, 229-30

(4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”).

       As noted, “[w]hen deciding whether to reduce a defendant’s sentence under §

3582(c)(1)(A), a district court may grant a reduction only if it is ‘consistent with applicable policy

statements issued by the Sentencing Commission.’” United States v. Taylor, 820 F. App’x 229,

230 (4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”). However, as indicated, the policy statement in § 1B1.13 of the

Guidelines was last updated in November 2018, before the enactment of the First Step Act. Thus,

it is only “directed at BOP requests for sentence reductions.” McCoy, 981 F.3d at 276 (citing

U.S.S.G. § 1B1.13). In other words, “[b]y its plain terms…§ 1B1.13 does not apply to defendant-

filed motions under § 3582(c)(1)(A).” Id. at *7; see also United States v. Zullo, 976 F.3d 228,

230 (2nd Cir. 2020); United States v. Jones, 980 F.3d 1098, 1108-12 (6th Cir. 2020); United

States v. Gunn, 980 F.3d 1178, 1180-81 (7th Cir. 2020).

       Accordingly, “[a]s of now, there is no Sentencing Commission policy statement

‘applicable’ to [] defendants’ compassionate-release motions, which means that district courts

need not conform, under § 3582(c)(1)(A)’s consistency requirement, to § 1B1.13 in determining

whether there exist ‘extraordinary and compelling reasons’ for a sentence reduction.” McCoy, 981

F.3d at 283. Therefore, district courts are “‘empowered…to consider any extraordinary and

                                                  9
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 10 of 19



compelling reason for release that a defendant might raise.’” McCoy, 981 F.3d at 284 (quoting

Zullo, 976 F.3d at 230).

       Nevertheless, as the movant, the defendant bears the burden of establishing that he is

entitled to a sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715

F.3d 328, 337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at

*3 (W.D. Va. Apr. 2, 2020). If the defendant can show an extraordinary and compelling reason

that renders him eligible for a sentence reduction, the Court must then consider the factors under

18 U.S.C. § 3553(a) to determine whether, in its discretion, a reduction of sentence is appropriate.

Dillon, 560 U.S. at 826-27; see also United States v. Trotman, 829 Fed. App’x 607, 608-9 (4th

Cir. 2020) (per curiam) (recognizing that, when considering a motion to reduce sentence under 18

U.S.C. § 3582(c)(1)(A), the court must consider the sentencing factors under 18 U.S.C. § 3553(a),

to the extent applicable); United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020). But,

compassionate release is a “rare” remedy. Chambliss, 948 F.3d at 693-94; United States v.

Mangarella, FDW-06-151, 2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v.

United States, 378 F. Supp. 3d 784, 787 (W.D. Mo. 2019).

                                         III. COVID-19

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

461 F. Supp. 3d 214, 223 (D. Md. 2020). That crisis is COVID-19. 2              The World Health




       2
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).

                                                10
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 11 of 19



Organization declared COVID-19 a global pandemic on March 11, 2020. See Seth v. McDonough,

PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.

       That said, the COVID-19 pandemic is the worst public health crisis that the world has

experienced since 1918. See United States v. Hernandez, 451 F. Supp. 3d 301, 305 (S.D.N.Y.

2020) (“The COVID-19 pandemic . . . . presents a clear and present danger to free society for

reasons that need no elaboration.”). Although many people who are stricken with the virus

experience only mild or moderate symptoms, the virus can cause severe medical problems as well

as death, especially for those in “high-risk categories . . . .” Antietam Battlefield KOA, 461 F.

Supp. 3d at 223 (citation omitted). And, the pandemic “has produced unparalleled and exceptional

circumstances affecting every aspect of life as we have known it.” Cameron v. Bouchard, LVP-

20-10949, 2020 WL 2569868, at *1 (E.D. Mich. May 21, 2020), stayed, 818 Fed. App’x 393 (6th

Cir. 2020). Indeed, for a significant period of time, life as we have known it came to a halt.

Although many businesses and schools reopened for a period of time, many are again subject to

closure or substantial restrictions, due to the virulent resurgence of the virus in recent weeks.

       The Court must also underscore that the virus is highly contagious. See Coronavirus

Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL &

PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh. As of March 23, 2021, COVID-19 has

infected nearly 30 million Americans and caused over 543,000 deaths in this country. See COVID-

19 Dashboard, THE JOHNS HOPKINS UNIV., https://bit.ly/2WD4XU9 (last accessed Mar. 23, 2021).



                                                 11
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 12 of 19



       Unfortunately, there is currently no cure or proven treatment that is generally available for

the virus. But, the country has recently seen the rollout of three vaccines for COVID-19 (Pfizer,

Moderna, and Johnson & Johnson). The vaccines were initially made available to health care

workers and the elderly in nursing homes.           But, the criteria for eligibility has expanded

considerably and varies among the States.

       Notably, the BOP published “COVID-19 Vaccine Guidance” on January 4, 2021 (version

7.0). COVID-19 Vaccine Guidance, Federal Bureau of Prisons Clinical Guidance (Jan. 4, 2021),

https://www.bop.gov/resources/pdfs/2021_covid19_vaccine.pdf. Administration of the COVID-

19 vaccine (Pfizer and Moderna) will “align with [recommendations of] the Centers for Disease

Control and Prevention.” Id. at 4. Therefore, once the BOP receives the vaccine, a prisoner at

heightened risk will receive priority for receipt of the vaccine. Id. at 6.

       The BOP reportedly received its first shipment of vaccines on December 16, 2020. Walter

Pavlo, Federal Bureau of Prisons Starts Vaccination of Staff, Inmates Soon Thereafter, Forbes

(Dec. 21, 2020), https://www.forbes.com/sites/walterpavlo/2020/12/21/federal-bureau-of-prisons-

starts-vaccination-of-staff-inmates-soon-thereafter/?sh=5683b99aa96f. As of March 23, 2021, the

BOP had 124,779 federal inmates and 36,000 staff. And, by that date, the BOP had administered

88,026 vaccine doses to staff and inmates. See https://www.bop.gov/coronavirus/ (last accessed

Mar. 23, 2021).

       Of relevance here, the Centers for Disease Control and Prevention (“CDC”) has identified

certain risk factors that increase the chance of severe illness. Those risk factors initially included

age (over 65); lung disease; asthma; chronic kidney disease; serious heart disease; obesity;

diabetes; liver disease; and a compromised immune system. See Coronavirus Disease 2019




                                                  12
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 13 of 19



(COVID-19), People Who Are at Risk for Severe Illness, CTRS. FOR DISEASE CONTROL &

PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.

       On June 25, 2020, and again on July 17, 2020, the CDC revised its guidance as to medical

conditions that pose a greater risk of severe illness due to COVID-19. Then, on November 2, 2020,

to reflect the most recently available data, the CDC again revised its guidance. See People of Any

Age with Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (Nov. 2,

2020), https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk include

cancer; chronic kidney disease; COPD; being immunocompromised; obesity, where the body mass

index (“BMI”) is 30 or higher; serious heart conditions, including heart failure and coronary artery

disease; sickle cell disease; smoking; pregnancy; and Type 2 diabetes. Id. The CDC has also

indicated that the risk for severe illness from COVID-19 increases with age, with older adults at

highest risk. See Older Adults At Greater Risk of Requiring Hospitalization or Dying if Diagnosed

with COVID-19, CTRS. FOR DISEASE CONTROL & PREVENTION (Nov. 27, 2020),

https://bit.ly/3g1USZ1.

       In addition, the CDC created a second category for conditions that “might” present a risk

for complications from COVID-19. The factors that might increase the risk include asthma,

cerebrovascular disease, hypertension, liver disease, cystic fibrosis, neurologic conditions, a

compromised immune system, overweight (where the BMI is between 25 and 30), pulmonary

fibrosis, thalassemia (a type of blood disorder), and Type 1 diabetes. See id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.” See

Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR DISEASE

CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed December 9, 2020).                Social

distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2;



                                                13
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 14 of 19



Senate Judiciary Hrg. Transcript on Incarceration during COVID-19, REV.COM (June 2, 2020)

(Testimony of BOP Dir. Michael Carvajal at 47:00) (“Prisons by design are not made for social

distancing. They are on [sic] the opposite made to contain people in one area.”). Indeed, prisoners

have little ability to isolate themselves from the threat posed by the coronavirus. Id.; see Cameron,

2020 WL 2569868, at *1; see also United States v. Mel, TDC-18-0571, 2020 WL 2041674, at *3

(D. Md. Apr. 28, 2020) (“In light of the shared facilities, the difficulty of social distancing, and

challenges relating to maintaining sanitation, the risk of infection and the spread of infection within

prisons and detention facilities is particularly high.”).

        To illustrate, prisoners are not readily able to secure safety products on their own to protect

themselves, such as masks and hand sanitizers, nor are they necessarily able to separate themselves

from others. See Kim Bellware, Prisoners and Guards Agree About Federal Coronavirus

Response: ‘We do Not Feel Safe,’ WASH. POST (Aug. 24, 2020) (reporting use of non-reusable

masks for months and a lack of transparency around policies for PPE and testing). They do not get

to decide where, when, or how to eat or sleep. Consequently, correctional facilities are especially

vulnerable to viral outbreaks and ill-suited to stem their spread. See Coreas v. Bounds, TDC-20-

0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020) (“Prisons, jails, and detention centers are

especially vulnerable to outbreaks of COVID-19.”); see also Letter of 3/25/20 to Governor Hogan

from approximately 15 members of Johns Hopkins faculty at the Bloomberg School of Public

Health, School of Nursing, and School of Medicine (explaining that the “close quarters of jails and

prisons, the inability to employ effective social distancing measures, and the many high-contact

surfaces within facilities, make transmission of COVID-19 more likely”); accord Brown v. Plata,

563 U.S. 493, 519-20 (2011) (referencing a medical expert’s description of the overcrowded

California prison system as “‘breeding grounds for disease’”) (citation omitted).



                                                  14
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 15 of 19



       The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

employees of the Bureau of Prisons (“BOP”) from COVID-19. The DOJ has adopted the position

that an inmate who presents with one of the risk factors identified by the CDC should be considered

as having an “extraordinary and compelling reason” warranting a sentence reduction. See U.S.S.G.

§ 1B1.13 cmt. n.1(A)(ii)(I).

       Former Attorney General William Barr issued a memorandum to Michael Carvajal,

Director of the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement

for inmates at risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-

FL, 2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress

passed the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No.

116-136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend

the permissible length of home confinement, subject to a finding of an emergency by the Attorney

General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney General issued

another memorandum to Carvajal, finding “the requisite emergency . . . .” Hallinan, 2020 WL

3105094, at *9. Notably, the April 3 memorandum “had the effect of expanding the [BOP’s]

authority to grant home confinement to any inmate . . . .” Id.

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to help

prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has implemented

substantial measures to mitigate the risks to prisoners, to protect inmates from COVID-19, and to

treat those who are infected. Indeed, as the Third Circuit recognized in United States v. Raia, 954

F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and professional efforts to curtail the

virus’s spread.”




                                                15
          Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 16 of 19



         As with the country as a whole, the virus persists in penal institutions. 3 As of March 23,

2021, BOP reported that 451 inmates out of a total of 125,458 inmates, and 1,363 BOP staff out

of some 36,000 staff members, currently test positive for COVID-19; 47,097 inmates and 5,298

staff have recovered from the virus; and 226 inmates and four staff members have died from the

virus.           Moreover,     the   BOP   has    completed   107,748     COVID-19      tests.   See

https://www.bop.gov/coronavirus/ (last accessed Mar. 23, 2021).

         With respect to FCI Allenwood Medium, where the defendant is now a prisoner, as of

March 23, 2021, the BOP reported that one inmate and no staff have tested positive for COVID-

19 and 289 inmates and 19 staff have recovered at the facility. And, at the Allenwood complex,

331      staff     and   368     inmates   have   been   inoculated     with   the   vaccine.    See

https://www.bop.gov/coronavirus/ (last accessed Mar. 23, 2021).

                                             IV. Discussion

         Foss has moved for compassionate release on the ground that his health conditions render

him particularly vulnerable to COVID-19. See ECF 187-1 at 6-9. In particular, he is obese, with

a BMI of 36.1. ECF 187-1 at 7. The government concedes that that the defendant’s obesity



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          The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus cases
Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2. More recently, on October 29, 2020, the New York Times reported that,
“[i]n American jails and prisons, more than 252,000 people have been infected and at least 1,450
inmates and correctional officers have died” from COVID-19. See Cases in Jails and Prisons,
N.Y. TIMES (Oct. 29, 2020), https://www.nytimes.com/interactive/2020/us/coronavirus-us-
cases.html.

        On November 21, 2020, the New York Times reported that “U.S. correctional facilities are
experiencing record spikes in coronavirus infections this fall. During the week of Nov. 17, there
were 13,657 new coronavirus infections reported across the state and federal prison systems.”
America Is Letting the Coronavirus Rage Through Prisons, N.Y. TIMES (Nov. 21, 2020),
https://www.nytimes.com/2020/11/21/opinion/sunday/coronavirus-prisons-jails.html.

                                                    16
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 17 of 19



satisfies the “extraordinary and compelling” prong of the § 3582 analysis. ECF 190 at 16.

Accordingly, I am satisfied that Foss satisfies the “extraordinary and compelling” requirement.

However, that does not end the inquiry.

        Relief is appropriate under 18 U.S.C. § 3582(c)(1)(A) only if the defendant “is not a danger

to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

U.S.S.G. § 1B1.13(2). To determine whether a defendant is a danger to the community, the Court

must consider the factors under 18 U.S.C. § 3142(g), including the nature and circumstances of

the offense, the history and characteristics of the defendant, and the danger that release would pose

to any person or the community.

        The Court must also consider the factors set forth in 18 U.S.C. § 3553(a), as required by

18 U.S.C. § 3582(c)(1)(A). These include: (1) the nature of the offense and the defendant’s

characteristics; (2) the need for the sentence to reflect the seriousness of the offense, promote

respect for the law, and provide just punishment; (3) the kinds of sentences available and the

applicable Guidelines range; (4) any pertinent Commission policy statements; (5) the need to avoid

unwarranted sentence disparities; and (6) the need to provide restitution to victims.

        Foss acknowledges the seriousness of his offense. ECF 187-1 at 12. But, he notes that the

offense did not involve “allegations of violence or the possession of weapons.” Id. In addition,

defendant asserts that if his sentence were reduced to time served, it would nonetheless accomplish

the sentencing objectives of both general and specific deterrence. Id. Moreover, defendant states

that the correspondence submitted by his partner, described supra, shows that he has a promising

plan in place for his reentry to society. Id. at 13.

        The government counters that Foss remains a danger to the community. ECF 190 at 17.

First, the government emphasizes the seriousness of Foss’s offense, highlighting that “more than



                                                  17
         Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 18 of 19



400 grams of cocaine was [sic] attributed to him during the course of the conspiracy . . . .” Id. at

18. Second, the government raises concerns about Foss’s criminal history, his disciplinary record

during service of his two federal sentences, and his persistent substance use issues. Id. at 18-19.

According to the government, these facts “weigh towards a finding that the defendant still poses a

danger to the community through risk of recidivism.” Id. at 19.

         Defendant’s history paints a troubling picture. As noted, he has prior drug convictions and

previously served a lengthy federal sentence for conspiracy to distribute cocaine. That should have

deterred him from any further wrongdoing.

         Moreover, defendant’s disciplinary record reflects acts of misconduct committed during

both sentences. And, defendant has continued to use drugs and alcohol, as reflected by an assault

he committed in 2009, while intoxicated, ECF 190-1 at 2; a DUI conviction in 2015; and a BOP

disciplinary infraction for use of buprenorphine in 2020. Notably, Foss does not address the

concerning nature of his criminal history, his BOP disciplinary record, or his continued substance

abuse.

         Foss’s behavior while in BOP custody is an important indicator of whether he remains a

danger to the community. See 18 U.S.C. § 3582(c)(1)(A)(ii). Courts place significant weight on

a defendant’s post-sentencing conduct because it “provides the most up-to-date picture of [his]

‘history and characteristics.’” See Pepper v. United States, 562 U.S. 476, 492 (2011) (citing 18

U.S.C. § 3553(a)(1)); see also United States v. Scott, CCB-95-202, 2020 WL 2467425, at *4 (D.

Md. May 13, 2020); cf. United States v. McDonald, 986 F.3d 402 (4th Cir. 2021) (noting that on

a motion to reduce sentence under the First Step Act, district court must consider defendant’s post-

sentencing conduct); United States v. Randall, __ F. App’x __, 2021 WL 796428, at *1 (4th Cir.

Mar. 2, 2021) (“[A] district court must provide an individualized explanation for denying a



                                                 18
        Case 1:19-cr-00115-ELH Document 254 Filed 03/31/21 Page 19 of 19



sentence reduction motion under the First Step Act when the defendant presents evidence of his

post-sentencing rehabilitation); United States v. Rudisill, 834 F. App’x 827, 829 (4th Cir. 2021)

(finding district judge abused his discretion in denying motion under the First Step Act without

addressing defendant’s post-sentencing conduct).

       Here, the facts show that defendant has manifested an inability to conform his behavior to

reasonable societal expectations. Moreover, Foss had previously served a lengthy period of

incarceration in regard to his first federal offense, which also involved distribution of cocaine, yet

this did not deter his continued course of drug distribution activity. Despite the length of his

previous sentence, defendant continued down the wrong path.

       Defendant has already served roughly three-quarters of his sentence, allowing for good-

time credit. But, given the serious facts of the offense and the relatively abbreviated time that

defendant has been incarcerated, coupled with the defendant’s prior criminal history and

disciplinary record, the Court concludes that release under 18 U.S.C. § 3582(c)(1)(A) is not

warranted at this time.

                                          V. Conclusion

       For the foregoing reasons, I shall deny the Motion.

       An Order follows, consistent with this Memorandum Opinion.


Date: March 31, 2021                                                 /s/
                                                      Ellen Lipton Hollander
                                                      United States District Judge




                                                 19
